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                            UNITED STATES DISTRICT COURT
11                         EASTERN DISTRICT OF WASHINGTON

12   UNITED STATES OF AMERICA,
                                              No. CR-07-2021-EFS-6
13                    Plaintiff,
14               v.                           ORDER ENTERING COURT'S ORAL
                                              RULINGS FROM AUGUST 15, 2008
15                                            SENTENCING HEARING
     FRANCISCO JAVIER ACEVES,
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                      Defendant.
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          A sentencing hearing occurred in the above-captioned matter on
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     August 15, 2008, in Yakima.         Defendant Francisco Javier Aceves was
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     present, represented by Salvador Mendoza.                Assistant United States
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     Attorney James P. Hagarty appeared on behalf of the Government.               Before
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     the Court was the Government's oral motion to dismiss the Indictment
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     based on Defendant's guilty plea and subsequent sentencing to an
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     Information Superseding Indictment.         (Ct. Rec. 194.)      Leave of Court is
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     given to dismiss the Indictment (Ct. Rec. 1); the Court, however, makes
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     no judgment as to the merit or wisdom of this dismissal.
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     ORDER - 1
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 1         Accordingly, IT IS HEREBY ORDERED:

 2         1. The Government's oral motion to dismiss the Indictment is

 3 GRANTED.

 4         2.     The Indictment (Ct. Rec. 1) shall be DISMISSED WITH PREJUDICE.

 5         3.     All pending motions are DENIED AS MOOT.

 6         IT IS SO ORDERED.         The District Court Executive is hereby directed

 7 to enter this Order and furnish copies to counsel and the United States

 8 Probation Office.

 9         DATED this         18th       day of August, 2008.

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11                                     s/Edward F. Shea
                                        EDWARD F. SHEA
12                               United States District Judge

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     ORDER - 2
